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               UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CORNEL WEST, et al.,

                Plaintiffs,

          v.                                   No. 24-cv-1349
                                               Judge Nicholas Ranjan
PENNSYLVANIA DEPARTMENT OF
STATE, et al.,

                Defendants.




  BRIEF OF THE PENNSYLVANIA DEPARTMENT OF STATE AND
SECRETARY OF THE COMMONWEALTH AL SCHMIDT IN OPPOSI-
TION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
         AND IN SUPPORT OF THE MOTION TO DISMISS
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                                 INTRODUCTION

      Justice for All submitted nomination paperwork for Dr. Cornel West, Melina

Abdullah, and 19 presidential electors on July 11 and again on August 1, 2024. The

Department of State rejected the nomination papers each time, because Justice for

All failed to include affidavits for each nominee for presidential elector, as required

by Pennsylvania law. The Department’s rejection of the nomination papers was liti-

gated through the Pennsylvania courts and, on September 16, the Pennsylvania Su-

preme Court upheld the Department’s decision. The same day, the Department cer-

tified a final candidate list to the counties, which then began printing, distributing,

and collecting mail ballots and otherwise preparing for the 2024 general election.

      Plaintiffs did not file this action until September 25—long after Pennsylva-

nia’s nomination period concluded, and all state court cases resolved. They now ask

this Court to rewind the clock to August 1. This Court should decline to do so.

      Federal courts are not the proper forum to seek late and burdensome changes

that would undermine the administration of the ongoing 2024 general election. Yet,

plaintiffs’ request that the Department be ordered to accept nomination papers from

Justice for All so that its intended nominees might be added to the ballot seeks just

that. The request for an injunction can be denied based on timing and delay alone.

      Plaintiffs filed this action with the election underway and Election Day just a

few weeks away despite challenging a rejection of nomination papers that occurred
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over two months ago. Pennsylvania’s Commonwealth Court dismissed an earlier

challenge to the same rejection because waiting even two weeks was too long given

the need to urgently resolve nomination disputes. Williams v. Pa. Dep’t of State

(“Williams I”), 394 MD 2024, 2024 WL 3912684 (Pa. Cmwlth. Aug. 23, 2024).

There is no basis for a federal court—confronted with delay that has pushed even

closer to Election Day—to reach a different conclusion.

      Granting relief is not possible with the 2024 general election now underway.

Over 717,000 ballots have already been sent to the 1.45 million people who have

applied so far to vote by mail. Counties also are using the finalized ballots to conduct

time-intensive testing of their election equipment that must be noticed at least 40

days before Election Day and finalized two weeks before then. Attempting to undo

these steps would pose impossible election administration burdens.

      And even if plaintiffs had meritorious claims—which they do not— no mean-

ingful relief is available. Ordering the Secretary to accept Justice for All’s nomina-

tion paper would not put Dr. West and Ms. Abdullah on the ballot. It would only

begin the objections period required by the Election Code and applicable to every

other political body—which took six weeks this cycle. Even a substantially abridged

process would push to the cusp of Election Day.

      Finally, rejecting Justice for All’s nomination paperwork for not including

affidavits from all presidential elector candidates, as Pennsylvania law requires, does

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not impose an unconstitutional burden. Among other purposes, having presidential

elector nominees complete a one-page affidavit ensures that they actually wish to

serve as electors. This might seem trivial, except that Justice for All has sought to

nominate (in Pennsylvania and elsewhere) individuals who did not actually want to

serve as presidential electors. Plfs.’ Br. at 18-19 (ECF No. 6); see also Brian Slo-

dysko & Jonathan J. Cooper, Her name was on a filing agreeing to be a Cornel West

elector. Her question: What’s an elector, AP News (Aug. 16, 2024).1 Beyond this,

the affidavit ensures compliance with the Election Code’s disaffiliation requirement,

which two of Justice for All’s proposed electors evidently could not satisfy.

      For these reasons, the request for a preliminary injunction should be denied

and the complaint should be dismissed.

                                 BACKGROUND

      In Pennsylvania, political bodies (political organizations that do not meet the

standard to be a political party, 25 P.S. § 2831) nominate candidates by submitting

nomination papers to the Department. 25 P.S. §§ 2911-2914. Political bodies have

six months to complete the nomination paperwork, which requires, among other

things, gathering signatures and completing an affidavit for each nominee—includ-

ing nominees for presidential elector. The Department’s website advised political



      1
        Available at: https://apnews.com/article/ballot-deception-cornel-west-con-
servatives-0d2c94da68bbd136442e63edadf14398.
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bodies of these rules, including specifically that presidential electors must complete

and file affidavits by this year’s August 1 filing deadline. Compl. ¶¶ 47, 49.

      Nevertheless, some (but not all) political bodies submitted nomination papers

for the 2024 election without affidavits from all presidential electors. Justice for All

did so on July 11, and again on August 1. Compl. ¶¶ 55-59 (ECF No. 1). The De-

partment rejected the deficient nomination papers. Id. The August 1 rejection notice

informed Dr. West that “Failure to act in a timely manner may impair any potential

remedies you seek.” August 1 Rejection Notice, Exhibit 10 to Answer, Williams v.

Schmidt, 394 MD 2024 (Pa. Cmwlth. Aug. 19, 2024) (attached as Exhibit A).

      Two sets of petitioners challenged the Department’s rejection of nomination

papers that had omitted affidavits from presidential electors. The Constitution

Party’s nominees for President and Vice President filed the first case four days after

the Department’s August 1 rejection. Petition, Clymer v. Schmidt, 376 MD 2024 (Pa.

Cmwlth. filed Aug. 5, 2024) (attached as Exhibit B). Three of Justice for All’s in-

tended presidential elector nominees brought the second case 14 days after the De-

partment’s August 1 rejection. Petition, Williams v. Schmidt, 394 MD 2024 (Pa.

Cmwlth. filed Aug. 15, 2024 (attached as Exhibit C). All petitioners claimed the

Pennsylvania Election Code does not require presidential electors to submit affida-

vits and, if it does, the requirement violates the U.S. and Pennsylvania Constitutions.

      Commonwealth Court ruled against both sets of petitioners.

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      In Clymer, Commonwealth Court held that Pennsylvania law requires politi-

cal bodies’ presidential elector nominees to submit affidavits with the nomination

papers. Clymer v. Schmidt (“Clymer I”), 376 MD 2024, 2024 WL 4231289, at *8

(Pa. Cmwlth. Aug, 23, 2024; decision made precedential, Sept. 19, 2024). Further,

it held, the affidavit is a minimal, reasonable burden and therefore violates neither

the 1st nor 14th Amendment to the U.S. Constitution. Id. at *12-13.

      In Williams, Commonwealth Court dismissed the petition under the doctrine

of laches because petitioners had failed to act with diligence and, given the com-

pressed timeline for certifying and preparing a general election ballot, the delay was

prejudicial. Williams I, 394 MD 2024, 2024 WL 3912684, at *5-6. The court also

ruled against petitioners on the merits, for the reasons described in Clymer I.

      Pennsylvania’s Supreme Court affirmed both orders. See Clymer v. Schmidt

(“Clymer II”), 67 MAP 2024, 2024 WL 4181585 (Pa. Sept. 13, 2024); see also Wil-

liams v. Pa. Dep’t of State (“Williams II”), 25 WAP 2024, 2024 WL 4195131 (Pa.

Sept. 16, 2024) (affirming consistent with Clymer II).

      On September 16, the day of the Williams II decision, the Secretary certified

the list of candidates for the 2024 general election ballot (with one exception for a




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state house race in Luzerne County that was certified a week later). Secretary of the

Commonwealth Certifies 2024 Ballot for Nov. 5 General Election (Sept. 16, 2024).2

      Following that, voting began. As of October 1, mail ballots are available in 16

counties (including the three counties). Mail Ballot Availability (last visited Oct. 1,

2024).3 More than 717,000 ballots have already been sent to the 1.45 million indi-

viduals who applied to vote in 2024 general election by mail. See Marks Decl. ¶¶ 4-

6 (attached as Exhibit D). Nearly 23,000 of those ballots already have been returned.

Id. ¶ 7. These numbers will climb as more counties send out mail ballots.

      On September 25, 2024—76 days after Justice for All’s nomination papers

were first rejected, 55 days after they were finally rejected, and just 41 days before

Election Day—plaintiffs commenced this action for emergency relief.

                                    ARGUMENT

I.    Plaintiffs waited too long to file.

      Plaintiffs’ timing is reason alone to deny their motion for an injunction.

      1.     Grants of federal injunctive relief must comport with principles of eq-

uity. Delaware State Sportsmen’s Ass’n, Inc. v. Delaware Dep’t of Safety & Home-

land Sec., 108 F.4th 194, 199 (3d Cir. 2024). Requests for injunctive relief, therefore,



      2
       Available at: https://www.pa.gov/en/agencies/dos/newsroom/secretary-of-
the-commonwealth-certifies-2024-ballot-for-nov--5-g.html.
      3
        Available at: https://www.pa.gov/en/agencies/vote/voter-support/ballot-
availability.html.
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may be denied solely because they were filed too late. See Stein v. Cortés, 223 F.

Supp. 3d 423, 437 (E.D. Pa. 2016).

      This principle is particularly applicable when a late-filed request for injunc-

tive relief would substantially and harmfully change election administration. In such

instances, courts have repeatedly denied requests for injunctive relief on this basis

alone. E.g., Republican Nat’l Comm. v. Democratic Nat’l Comm., 589 U.S. 423, 424

(2020) (“[L]ower federal courts should ordinarily not alter the election rules on the

eve of an election.”); Bognet v. Secretary, 980 F.3d 336, 363 (3d Cir. 2020), vacated

as moot (affirming district court’s denial of request for preliminary injunction based

solely on timing of plaintiffs’ request); Stein, 223 F. Supp. 3d at 437 (denying re-

quest for a recount based on facts known to plaintiffs long before they filed); Repub-

lican Party of Pa. v. Cortes, 218 F. Supp. 3d 396, 404-05 (E.D. Pa. 2016) (denying

request enjoin restrictions on qualified poll watchers that was filed just weeks before

Election Day); Pa. Democratic Party v. Republican Party of Pa., 16-5664, 2016

WL 6582659, at *5 (E.D. Pa. Nov. 7, 2016) (denying request for injunctive relief

because it was sought just before Election Day).

      Whether called “laches, the Purcell principle, or common sense,” this bar

against late and onerous election changes protects the orderly operation of elections.

Crookston v. Johnson, 841 F.3d 396, 398 (6th Cir. 2016).




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      2.     These principles apply with full force here given the timing of plain-

tiffs’ action. Even worse, nothing about plaintiffs’ proposed “judicial fire drill”

was necessary. Republican Party of Pa., 218 F. Supp. 3d at 405.

      As plaintiffs acknowledge, see Compl. ¶¶ 47-49, the Department posted to its

website over the summer an FAQ document to inform political bodies of what they

needed to submit by the August 1 nomination deadline. The FAQs informed political

bodies that their presidential electors nominees needed to complete an affidavit. Id.

That document was made publicly available on June 7, nearly two months before the

filing deadline. Still, plaintiffs took no action in June.

      On July 11, Dr. West’s campaign submitted nomination papers to the Depart-

ment. Dr. West’s campaign was notified the same day that the nomination papers

were being rejected for failing to include affidavits from presidential elector nomi-

nees. Compl. ¶¶ 55-58. Still, plaintiffs took no action in July.

      On August 1, Dr. West’s campaign re-submitted nomination papers without

affidavits from all nominees for presidential elector and again was notified that pa-

pers would being rejected. Compl. ¶ 59. Still, plaintiffs filed no action in August.

      While plaintiffs waited, others did pursue the very same claims plaintiffs raise

here. The Constitution Party’s nominees for presidential elector, President, and Vice

President were likewise rejected for failing to provide the required affidavit from

each elector. The Constitution Party’s rejected nominees, however, filed an action

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on August 5 seeking an order that the Department accept their nomination papers.

See Clymer I, 2024 WL 4231289. There, Commonwealth Court agreed with the De-

partment that, under Pennsylvania law, presidential electors must submit an affidavit

and that that requirement does not violate the U.S. Constitution, id., which the Penn-

sylvania Supreme Court affirmed. Clymer II, 2024 WL 4181585.

      3.     This is not the first time that individuals associated with Justice for All

have challenged the rejection of its nomination papers. On August 15, three pur-

ported electors asked Commonwealth Court to issue the same relief requested here.

Williams I, 2024 WL 3912684, at *2-4. Pennsylvania’s Commonwealth Court con-

cluded that even the August 15 filing was too late. Relying on the facts described

above, Commonwealth Court held that petitioners had acted with “a lack of due dil-

igence,” especially because the affidavit requirement “was available for public view

online even before that.” Id. at *6. Under the circumstances there (and here), dili-

gence would have “required immediate filing of a statutory and constitutional chal-

lenge” after being made aware of the affidavit requirement on July 11. Id. Even using

August 1 as the relevant date, “there was a lack of due diligence in waiting 14 days

to file the Petition.” Id. The delay was unreasonable because with “the abbreviated

time frames and impending deadlines set forth in the Election Code, time is of the

essence and requires far more prompt action than that exercised [there].” Id.




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      Indeed, it is necessary feature of election litigation in Pennsylvania that parties

must pursue their interests expeditiously. For instance, objections to nomination pa-

pers the Department has accepted must be filed within seven days. 25 P.S. § 2937.

      The delay here is significantly worse than in Williams and fundamentally at

odds with what Pennsylvania demands of litigants to protect the Commonwealth’s

election administration. Plaintiffs not only failed to act based on the Department’s

FAQ, the July 11 rejection, or the August 1 rejection, but they also failed to act after

the Commonwealth Court’s August 23 decisions in Williams I and Clymer I.

      Dr. West and Ms. Abdullah tried to intervene in Williams five days after Com-

monwealth Court had already dismissed it, see Appl. for Leave to Intervene, Wil-

liams v. Pa. Dep’t of State, 25 WAP 2024 (Pa. Aug. 28, 2024), but otherwise took

no action after an August 30 order denying their belated application to intervene,

Order, Williams v. Pa. Dep’t of State, 25 WAP 2024 (Pa. Aug. 30, 2024).

      Nor did plaintiffs act promptly after the Supreme Court’s decisions in Clymer

II and Williams II, issued on September 13 and 16, respectively, or after the Secre-

tary certified the list of candidates on September 16.

      Instead, plaintiffs waited until nine days after the state-court nomination pro-

cess had closed and the Secretary had certified the list of candidates. Whatever jus-

tification plaintiffs might produce for their delay, there is no excuse that would




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justify granting their requested relief. Late requests for federal courts to enter dis-

ruptive relief cannot be countenanced.

      Not only is the delay here even more pronounced that it was in Williams, but

plaintiffs now ask a federal court for the very same relief a Pennsylvania court just

denied as a matter of protecting administration of Pennsylvania’s elections. Granting

plaintiffs’ requested relief at this juncture would exceed a federal court’s proper role

under any circumstances, Democratic Nat’l Comm. v. Wisc. State Leg., 141 S. Ct.

28, 30-31 (2020) (Kavanaugh, J., concurring), but it would be especially improper

to do after a state court ruled that an action filed more than a month before this one

was too late for purposes of election administration.

      Diligent parties could have—and did—raise the same claims being raised here

much sooner. Plaintiffs here, however, waited until Election Day was near to act.

The request for injunctive relief should be denied on that basis alone.

II.   The Court cannot grant any meaningful relief this close to Election Day.

      Because plaintiffs waited to file this action, administration of the 2024 elec-

tion is already underway. Worse, the only conceivable relief available to plaintiffs

would not place Justice for All’s nominees on the ballot. Instead, it would only begin

the state-law objection period applicable to all political body nominations. By the

time that process concludes, preparations for Election Day will be largely at an end.

The unavailability of relief is yet another reason to deny the request for an injunction.


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      A.     Counties have already taken irreversible steps to prepare for the
             election.

      When plaintiffs filed this action, administration of the 2024 general election

had begun. Actions taken before plaintiffs filed this case make relief unobtainable.

      Under Pennsylvania law, the Secretary must certify and transmit to county

boards of elections the list of candidates that have been properly nominated for a

general election. 25 P.S. § 2944. He must do so “as soon as possible” after the last

day for filing substituted nomination certificates. For the 2024 general election, the

last day to substitute nominations was August 22. Id. § 2941.

      Pennsylvania’s Supreme Court resolved the last nomination dispute for the

2024 general election on September 16, and the Secretary certified the list of candi-

dates the same day. Supra at 5-6. Once the Secretary certified, counties began ad-

ministering the election in the precise ways that federal courts are advised not to

disrupt. The processes already underway cannot be modified, and certainly not

“without significant cost, confusion, or hardship.” Merrill v. Milligan, 142 S.Ct. 879,

881 (2022) (Kavanaugh, J., concurring) (describing when requests to change elec-

tion procedures close to an election should be denied). Two aspects of the ongoing

administration are most significant here.

      1.     Counties are already printing ballots and making them available to the

1.45 million people who already have applied to vote by mail in the 2024 general

election. See Marks Decl. ¶ 4. At the time of this filing, ballots are available to voters
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in 16 counties, supra at 6, and have been mailed to more than 717,000 voters, Marks

Decl. ¶ 6. Nearly 23,000 ballots have already been returned to county boards of elec-

tions. Marks Decl. ¶ 7. Many more counties will begin mailing ballots this week.

And all counties must begin mailing ballots at least two weeks before Election Day,

which this year is October 22. 25 P.S. §§ 3146.5(b)(1), 3150.15. Even counties that

may intend to wait until that statutory deadline to begin mailing ballots must start

printing ballots well in advance—and many have likely already done so.

      The Election Code itself treats the printing of ballots as the final point after

which changes cannot be made. Candidates listed on the ballot cannot be substituted

even in the event of death once “the printing of ballots is started.” 25 P.S. § 2941(b).

This statutory limitation demonstrates that the Pennsylvania General Assembly sees

the printing of ballots as an end point. Otherwise, election officials would have to

resolve, among other issues, whether voters sent one ballot need to be sent a new

one, whether to cancel initial ballots, whether and how to count a ballot if the voter

returns only one ballot, how to prevent double voting, and how to canvass and count

different ballot types on machines that will have been calibrated and tested for a

single ballot type. These concerns would be particularly pronounced here given the

hundreds of thousands of ballots already sent to voters.

      Plaintiffs have already sought to use the mere pendency of this case to inter-

fere with election administration in Pennsylvania. Although this Court has not

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entered any order on the merits, and no county is a party, yesterday plaintiffs’ coun-

sel emailed every election director in the Commonwealth (but not their solicitors)

intimating that they should stop processing mail ballots. See Sept. 30 Email to Elec-

tion Directors (attached as Exhibit E). The Department had to respond to the coun-

ties, advising them that they were not subject to any order that they stop conducting

their election administration.

      2.       After the Secretary certified the list of candidates, counties began the

required testing—referred to as “logic and accuracy” testing—of their electronic vot-

ing systems. Under the Election Code, counties must provide notice of when and

where this testing will take place at least 40 days before Election Day, which was

September 26 for the 2024 general election. 25 P.S. § 3031.10(d). Counties across

the Commonwealth are providing the required notice and have begun their testing.

E.g., Berks County Notice (Sept. 19, 2024) (beginning testing on September 30)4;

Erie County Notice (last visited Oct. 1, 2024) (beginning parts of testing on Septem-

ber 23 and other parts on September 30)5; Philadelphia County Notice (Sept. 17,

2024) (beginning testing on September 20).6



      4
        Available at: https://www.berkspa.gov/departments/election-ser-
vices/news/announcements/logic-accuracy-testing.
      5
          Available at: https://eriecountypa.gov/departments/elections-voting/.
      6
        Available at: https://vote.phila.gov/news/2024/09/17/2024-general-election-
public-notice-of-logic-and-accuracy-testing/.
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      The Secretary, under his power to issue binding directives for “the operation

of electronic voting systems,” 25 P.S. § 3031.5(a), has provided instructions for this

pre-election testing. Under the Secretary’s directive, the required testing involves “a

series of pre-election steps intended to ensure that ballots, scanners, ballot-marking

devices, and all components of a county’s certified voting system are properly con-

figured and in good working order prior to being used in an election.” See Directive

1 of 2024 at 1, Directive on Logic & Accuracy Testing, Version 3.0 (Mar. 7, 2024).7

      Logic and accuracy testing must be conducted using the actual ballots for an

election and so cannot begin until those ballots have been finally defined. Directive

1 at 2-3. Testing is intensive: Every piece of voting equipment must be confirmed to

be working properly even if it will only be stored as a backup. Directive 1 at 8-9.

Testing can take more than two weeks, especially in larger counties with more equip-

ment. Logic and accuracy testing must be completed fifteen days before Election

Day, which is October 21 for the 2024 election. Directive 1 at 1.

      Because logic and accuracy testing is specific to the actual ballots to be used,

changes to a ballot would require counties to recalibrate their voting systems and re-




      7
        Available at: https://www.pa.gov/content/dam/copapwp-pagov/en/dos/re-
sources/voting-and-elections/directives-and-guidance/2024-Directive-on-Logic-
Accuracy-Testing-3.0.pdf
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do logic and accuracy testing under timeframes that would not comply with the re-

quired notice provisions nor allow counties to meet the pre-election deadline.

      B.     Even if they were successful, Dr. West and Ms. Abdullah could
             not be certified as candidates until the brink of Election Day.

      As far along as preparations are now, by the earliest time Justice for All’s

nominees could be certified, pre-election preparation will be nearly complete.

      The relief plaintiffs request—and the only thing that the Secretary could be

ordered to do—is to accept the nomination papers. Proposed Order (ECF No. 5).

That relief, however, would not put Justice for All’s nominees on the ballot—it

simply would start a state process that might result in their placement on the ballot.

As with every other political body’s nomination papers, if Justice for All’s nomina-

tion papers are accepted, they would be subject to an objections period before any

of its candidates could be certified. 25 P.S. § 2937. The Election Code gives parties

seven days from when nomination papers are filed to raise objections. Id. If the court

determines that the nomination papers are defective or lack sufficient signatures, the

nomination papers are set aside. Id.

      Commonwealth Court usually moves swiftly to resolve objections, but its re-

view and the subsequent appeals take time. For the 2024 general election, the last

objection case was not resolved until six weeks after the nomination filing deadline.

See In re De La Cruz, 56 EAP 2024, 2024 WL 4181581 (Pa. Sept. 13, 2024). A six-

week objection period that begins now would not end until after Election Day. Even
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cutting that period in half, objections would not be resolved until two weeks before

Election Day. By that point: (1) every county will need to have completed their logic

and accuracy testing; (2) every county will have need to have sent ballots to voters;

(3) almost a million ballots (if not more) will have been delivered to voters; (4) elec-

tion day ballots will be printed; and (5) hundreds of thousands of ballots will likely

have been returned. Adding a new candidate to the ballot at such a stage is irrecon-

cilable with the required timing of Pennsylvania’s election preparations.

       Even if Justice for All’s nominations are not set aside during objections, Dr.

West and Ms. Abdullah are ineligible to serve together as President and Vice Presi-

dent unless one moves to a new state. See U.S. Const. amend. XII; Compl. ¶¶ 14-15.

III.   The presidential elector affidavit requirement is constitutional.

       Finally, the Pennsylvania Election Code—not the Department’s interpreta-

tion—requires political bodies to submit a one-page affidavit for each presidential

elector candidate. See Clymer I, 2024 WL 4231289, at *6-*11, aff’d, Clymer II, 2024

WL 4181585. Plaintiffs are not likely to succeed on their claims (and indeed have

failed allege facts plausibly showing) that this requirement imposes an unconstitu-

tional burden in violation of the First and Fourteenth Amendments.

       Requiring each presidential elector to provide basic identifying information

and affirm both their willingness to undertake the role and their compliance with the

Election Code is a modest task that is more than justified by the Commonwealth’s


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interests. Indeed, that some of the Justice for All presidential electors listed on nom-

ination papers would not provide affidavits because they “became unwilling or una-

ble to serve in that role,” Plfs’ Br. at 9, vividly illustrates why the affidavit require-

ment is necessary. That the Election Code imposes different (and weightier) require-

ments on major political parties does not render the affidavit requirement unconsti-

tutional.

       1.    To evaluate federal equal protection and associational challenges to

ballot access regulations, courts “consider what burden is placed on the rights which

plaintiffs seek to assert and then [] balance that burden against the precise interests

identified by the state and the extent to which these interests require that plaintiff’s

rights be burdened.” Rogers v. Corbett, 468 F.3d 188, 193-94 (3d Cir. 2006) (apply-

ing the Anderson-Burdick test to “both associational and equal protection” claims).

Severe burdens must be justified by compelling state interests, while lesser burdens

that impose “‘only reasonable, nondiscriminatory restrictions’ on constitutional

rights” can be justified by a “State’s important regulatory interests.” Mazo v. N.J.

Sec’y of State, 54 F.4th 124, 145-46 (3d Cir. 2022).

       Under federal law, “alternate ballot access rules for major and minor political

parties are not per se unconstitutional.” See Rogers, 468 F.3d at 196; accord In re

Zulick, 832 A.2d 572, 581 (Pa. Cmwlth. 2003) (“[T]he [U.S.] Supreme Court has

held that the different treatment of minor political parties from other political parties

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does not violate their equal protection.”). There are “obvious differences in kind be-

tween the needs and potentials of a political party with historically established broad

support, on the one hand, and a new or small political organization on the other,”

that justify different paths to the ballot. Jenness v. Fortson, 403 U.S. 431, 441

(1971); see also, e.g., Am. Party of Texas v. White, 415 U.S. 767, 781 (1974) (up-

holding law differentiating between major political parties and smaller political par-

ties); Indep. Party of Florida v. Secretary, 967 F.3d 1277, 1284 (11th Cir. 2020)

(upholding law that minor political organizations must submit obtain signatures from

at least one percent of all registered voters to gain ballot access).

      2.     Here, the affidavit requirement imposes only a modest burden. Political

bodies have about six months to complete their nomination papers. 25 P.S.

§ 2913(b); Consent Decree, Libertarian Party v. Davis, No. 84-26 (E.D. Pa. June

13, 1984) (establishing filing deadline). During that time, each of the 19 candidates

for presidential elector must complete a one-page affidavit in which they attest to

routine facts about themselves, including, among other things, where they live, that

they want to serve as an elector, that they are eligible, and that they were not recently

affiliated with a political party. 25 P.S. § 2911(e). The affidavit need not even be

notarized—candidates can submit an unsworn statement with the affidavit instead.

In re Turner, 291 A.3d 519, 524 (Pa. Cmwlth. 2023). When submitting their




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nomination papers, political bodies pay the same filing fee as major political parties.

25 P.S. § 2914; contra Plfs’ Br. at 22, 27.

      Political bodies may (and do) consult with the Department about what is re-

quired to complete nomination papers. If a political body submits flawed nomination

papers before the filing deadline, the Department provides notice of the error and an

opportunity to correct it—as it did for Justice for All. Compl. ¶¶ 55-58; see July 30,

2024 Rejection Notices, Exhibit 4 to Answer, Williams v. Schmidt, 394 MD 2024

(Pa. Cmwlth. Aug. 19, 2024) (attached as Exhibit A).

      Nothing about the affidavit requirement alters a political body’s task of gath-

ering signatures for its nomination papers. Contra Plfs.’ Br. at 18-19. With or with-

out an affidavit, electors need to be listed on nomination papers. 25 P.S. §§ 2912(b),

2913(a); id. § 2913(a). If a political body has gathered signatures for an elector who

no longer wishes to serve, whether new signatures would be needed would be en-

tirely independent of the affidavit requirement. Plaintiffs’ issue with the affidavit

seems to be that it reveals if individuals are willing and able to serve. Plfs’ Br. at 18-

19. But this is a burden only if political bodies should be permitted to nominate

ineligible or unwilling people.

      Assessing the actual effect of the affidavit requirement does not require the

Court to blind itself to a political body’s own choices that impeded its access to the

ballot. Justice for All chose to list individuals as presidential electors without first

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confirming each individual’s contact information and willingness and eligibility to

serve. And Justice for All chose to wait until July 30 to attempt to correct its paper-

work, despite receiving notice from the Department of the deficiency on July 11 and

despite having nearly six months to prepare the nomination paperwork to begin with.

      Nor does the affidavit requirement bind a political body to its nominees in

perpetuity. Instead, the Election Code permits a political body to substitute any nom-

inated presidential elector candidate for any reason so long as the substituted nomi-

nation certificate is filed 75 days before Election Day. 25 P.S. §§ 2940, 2941(a); see

In re Scroggin, 237 A.3d 1006, 1019 (Pa. 2020). For the 2024 general election, this

deadline was August 22. For a vacancy caused by death, substitutions can be made

any time before ballots are printed. Id. § 2941(b).

      3.     The minimal burden of completing the affidavit is justified.

      First, and specific to political bodies, the affidavit ensures that major political

parties and unsuccessful primary candidates cannot misuse the political body nomi-

nation process to get a second bite at the apple. Contra Plfs.’ Br. at 22-23, 27-28. To

that end, political body candidates must affirm that they were not registered with a

political party 30 days before that year’s primary or an unsuccessful candidate in

that primary. 25 P.S. §§ 2911.1, 2911(e)(5)-(6), 2936(e); Zulick, 832 A.2d at 581-

82. The Commonwealth has a strong interest in “maintaining the integrity of the

various routes to the ballot” and thereby the “stability of its political system.” De La

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Fuente v. Cortes, 751 F. App’x 269, 273-74 (3d Cir. 2018) (quoting Storer v. Brown,

415 U.S. 724, 733, 736 (1974)) (upholding constitutionality of disaffiliation and

“sore loser” rules); see also Zulick, 832 A.2d at 581-82 (recognizing importance of

state interest in preventing nomination of “sore loser” candidates). The disaffiliation

requirement is especially important given that Pennsylvania does not punish so-

called “faithless electors.”

      Second, the affidavit is a statement that the candidate is eligible. Requiring a

candidate to attest to facts pertinent to their candidacy is a long-standing anti-fraud

mechanism. Scroggin, 237 A.3d at1018-19. These interests have made completing

the affidavit an essential part of a political body’s nominations. Id. at 1019. Here,

the affidavit served its purpose because two potential presidential elector candidates

crossed off the disaffiliation language, Candidate Affidavits, Exs. 7-8 to Williams

Answer (attached as Exhibit A), thereby admitting that they are ineligible to serve

as presidential electors for Justice for All.

      Third, the affidavit confirms that the individual is willing to serve as a presi-

dential elector. In Pennsylvania, as in the rest of the country, members of the public

do not directly vote for President and Vice President. Instead, the public votes for

presidential electors who then vote for President and Vice President at the electoral

college. U.S. Const. art. II, § 1; U.S. Const. amend. XII; 3 U.S.C. § 1; 25 P.S. § 3191

(selecting electors by popular vote). This vital role is anything but “negligible.”

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Contra Plfs.’ Br. at 7. As described below, Pennsylvnia has an interest in ensuring

that a political body’s candidates for presidential elector comprise a full slate and

are willing and able to serve in the electoral college. In this very case, plaintiffs admit

that some individuals it nominated as presidential elector “became unwilling or un-

able to serve in that role” despite having their names listed on nomination papers

signed by more than 13,000 voters. Plfs’ Br. at 9, 20. The same thing reportedly

happened in Arizona. See supra at 3 n.1. Without the affidavit requirement, there-

fore, the Department has no way to ascertain if a political body’s slate of presidential

elector candidates is both genuine and willing to serve.

       4.     The affidavit requirement does not make the nomination process for

political bodies more rigorous than that for major political parties—and certainly not

in an unreasonable way. Contra Plfs’ Br. at 20-23. Setting aside that core compo-

nents of the affidavit (the disaffiliation and “sore loser” language) are uniquely ad-

dressed to political bodies’ candidates, the affidavit is one part of a nomination pro-

cess that otherwise shields political bodies from the rigors of the process that politi-

cal parties must follow. See Zulick, 832 A.2d at 582.

       To nominate its candidates, major political parties must go through a lengthy

primary election process. 25 P.S. § 2862. To get on the ballot for a primary, each

major political party candidate must complete a separate nomination petition. Id.

§ 2867. Major political party nomination petitions: (1) must be circulated only in a

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three-week span ahead of the primary election, (2) must be signed only by members

of the respective political party and (3) require each candidate to submit a separate

set of signatures. Id. §§ 2868, 2869. Candidates, including the delegates that choose

a major political party’s presidential candidate, also must complete an affidavit

swearing to their qualification for the role. Id. § 2870. Candidates who win the pri-

mary will appear on the general election ballot, with an exception for President, Vice

President, and presidential electors (the latter of whom do not run in a primary elec-

tion). Delegates elected at the primary will select the presidential nominee, who in

turn nominates presidential electors. 25 P.S. § 2878.

      The process for political bodies to nominate candidates is more straightfor-

ward. Rather than a primary, political bodies may nominate all their statewide can-

didates for a general election, including presidential electors, with a single set of

nomination papers and a single set of supporting signatures. 25 P.S. § 2911. Those

signatures may come from any qualified voter regardless of political affiliation. Id.

§ 2911(c). Those signatures also may be gathered over a six-month period. 25 P.S.

§ 2913(b); Consent Decree, Libertarian Party v. Davis, No. 84-26 (E.D. Pa. June

13, 1984). Nominees need to complete a one-page affidavit with routine facts about

themselves. 25 P.S. § 2911(e).

      While it is true that the Election Code does not require a major political party’s

presidential elector candidates to complete these affidavits, Plfs’ Br. at 21-22, that

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does not make the process less onerous. It only makes it different. And those differ-

ences are warranted. Clymer, No. 376 MD 2024, 2024 WL 4231289, at *13 (con-

cluding the General Assembly could reasonably impose different requirements on

political bodies given less transparent nomination process). A major political party

has gone through a primary process and nominated its delegates, and then its presi-

dential candidate, in a highly publicized manner. A political body, however, nomi-

nates electors without the public review or accountability that is attendant to the

major political parties’ nomination process.

      This case vividly illustrates why it is reasonable for the Commonwealth to

require a political body to have its presidential electors submit a single-page affidavit

providing contact information and acknowledging eligibility and compliance with

state law. Indeed, “States have important interests in protecting the integrity of their

political processes from frivolous or fraudulent candidacies, in ensuring that their

election processes are efficient, in avoiding voter confusion caused by an over-

crowded ballot, and in avoiding the expense and burden of run-off elections.” Zulick,

832 A.2d at 579 (quoting Clements v. Fashing, 457 U.S. 957, 965 (1982)) (citing

cases recognizing these interests).

                                   CONCLUSION

      For the reasons described above, the Court should deny Plaintiffs’ motion

for temporary restraining order and dismiss this action.


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October 1, 2024                    Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I, Jacob B. Boyer, certify that I have caused all parties to be served on this

date with the foregoing via the Court’s ECF system.



Date: October 1, 2024                       /s/ Jacob B. Boyer
                                            Jacob B. Boyer
